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                            UNITED STATES DISTRICT COURT

                              DISTRICT OF MASSACHUSETTS


ROLANDO PENATE,
    Plaintiff                                        )
v.                                                   )
                                                     )
ANNE KACZMAREK, KRIS FOSTER,                         )
RANDALL RAVITZ, JOSEPH BALLOU,                       )
ROBERT IRWIN, RANDY THOMAS,                          ) Civil Action No.: 3:17-cv-30119KAR
SONJA FARAK, SHARON SALEM,                           )
JAMES HANCHETT, JULIE NASSIF,                        )
LINDA HAN, ESTATE OF KEVIN                           )
BURNHAM, STEVEN KENT, JOHN                           )
WADLEGGER, GREGG BIGDA,                              )
EDWARD KALISH, and                                   )
CITY OF SPRINGFIELD                                  )
      Defendants                                     )
                                                     )

  ANSWER OF DEFENDANT JOHN WADLEGGER TO PLAINTIFF’S COMPLAINT
                   AND DEMAND FOR JURY TRIAL


       NOW COMES the above-named Defendant John Wadlegger and responds to each and

every allegation contained in the Plaintiff’s complaint as follows:

                            PARTIES and Introductory Paragraph

   1. The introductory paragraph of the complaint is not numbered and contains

       legal/factual statements that necessitate no response. To the extent that this section of

       Plaintiff’s Complaint contains allegations against the Defendant, the Defendant denies

       the allegations and call upon Plaintiff to prove same. As to the allegations set forth in

       paragraph 1 of the complaint, identifying the Plaintiff, the Defendant is without

       sufficient information on which to form a belief as to the truth of the allegations

       contained in paragraph 1 of Plaintiff’s Complaint and therefore denies same.




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2.   The Defendant is without sufficient information on which to form a belief as to the truth

     of the allegations contained in paragraph 2 of Plaintiff’s Complaint and therefore denies

     same.

3.   The Defendant is without sufficient information on which to form a belief as to the truth

     of the allegations contained in paragraph 3 of Plaintiff’s Complaint and therefore denies

     same.

4.   The Defendant is without sufficient information on which to form a belief as to the truth

     of the allegations contained in paragraph 4 of Plaintiff’s Complaint and therefore denies

     same.

5.   The Defendant is without sufficient information on which to form a belief as to the truth

     of the allegations contained in paragraph 5 of Plaintiff’s Complaint and therefore denies

     same.

6.   The Defendant is without sufficient information on which to form a belief as to the truth

     of the allegations contained in paragraph 6 of Plaintiff’s Complaint and therefore denies

     same.

7.   The Defendant is without sufficient information on which to form a belief as to the truth

     of the allegations contained in paragraph 7 of Plaintiff’s Complaint and therefore denies

     same.

8.   The Defendant is without sufficient information on which to form a belief as to the truth

     of the allegations contained in paragraph 8 of Plaintiff’s Complaint and therefore denies

     same.

9.   The Defendant is without sufficient information on which to form a belief as to the truth

     of the allegations contained in paragraph 9 of Plaintiff’s Complaint and therefore denies




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      same.

10.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 10 of Plaintiff’s Complaint and therefore denies

      same.

11.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 11 of Plaintiff’s Complaint and therefore denies

      same.

12.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 12 of Plaintiff’s Complaint and therefore denies

      same.

13.   Defendant admits to so much of the allegations as set forth in paragraph 13 of Plaintiff’s

      Complaint that alleges. KEVIN BURNHAM was a natural person and resident of the

      Commonwealth of Massachusetts. From 1971 to July 2014, he was employed by the City

      of Springfield as an officer in the Springfield Police Department (SPD). BURNHAM

      died on June 5, 2017. However, Defendant denies the balance of the allegations as the

      ESTATE OF KEVIN BURNHAM has been dismissed from this case.

14.   Defendant admits to the allegations as set forth in paragraph 14 of Plaintiff’s Complaint.

15.   Defendant admits to the allegations as set forth in paragraph 15 of Plaintiff’s Complaint.

16.   Defendant admits to the allegations as set forth in paragraph 16 of Plaintiff’s Complaint.

17.   Defendant admits to the allegations as set forth in paragraph 17 of Plaintiff’s Complaint.

18.   Defendant admits to the allegations as set forth in paragraph 18 of Plaintiff’s Complaint.

19.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 19 of Plaintiff’s Complaint and therefore denies




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      same.

                                      JURISDICTION

20.   Defendant admits so much of the allegations set forth in paragraph 20 of the complaint

      that allege this case alleges a violation of rights guaranteed by the Fifth and Fourteenth

      Amendments to the United States Constitution is brought pursuant to the provisions

      of 42 U.S.C. §1983, but denies that such laws are applicable to the facts and

      circumstances of this case.

21.   Defendant admits so much of the allegations set forth in paragraph 20 of the complaint

      that allege Jurisdiction is conferred on this Court by 28 U.S.C. §§ 1331 (federal

      question) and 1343 (civil rights) but denies that such laws are applicable to the facts and

      circumstances of this case.

22.   Defendant admits to the allegations as set forth in paragraph 22 of Plaintiff’s Complaint.

                                    FACTUAL ALLEGATIONS

23.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 23 of Plaintiff’s Complaint and therefore denies

      same.

24.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 24 of Plaintiff’s Complaint and therefore denies

      same.

25.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 25 of Plaintiff’s Complaint and therefore denies

      same.

26.   The Defendant is without sufficient information on which to form a belief as to the truth




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      of the allegations contained in paragraph 26 of Plaintiff’s Complaint and therefore denies

      same.

27.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 27 of Plaintiff’s Complaint and therefore denies

      same.

28.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 28 of Plaintiff’s Complaint and therefore denies

      same.

29.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 29 of Plaintiff’s Complaint and therefore denies

      same.

30.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 30 of Plaintiff’s Complaint and therefore denies

      same.

31.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 31 of Plaintiff’s Complaint and therefore denies

      same.

32.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 32 of Plaintiff’s Complaint and therefore denies

      same.

33.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 33 of Plaintiff’s Complaint and therefore denies

      same.




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34.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 34 of Plaintiff’s Complaint and therefore denies

      same.

35.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 35 of Plaintiff’s Complaint and therefore denies

      same.

36.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 36 of Plaintiff’s Complaint and therefore denies

      same.

37.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 37 of Plaintiff’s Complaint and therefore denies

      same.

38.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 38 of Plaintiff’s Complaint and therefore denies

      same.

39.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 39 of Plaintiff’s Complaint and therefore denies

      same.

40.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 40 of Plaintiff’s Complaint and therefore denies

      same.

41.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 41 of Plaintiff’s Complaint and therefore denies




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      same.

42.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 42 of Plaintiff’s Complaint and therefore denies

      same.

43.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 43 of Plaintiff’s Complaint and therefore denies

      same.

44.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 44 of Plaintiff’s Complaint and therefore denies

      same.

45.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 45 of Plaintiff’s Complaint and therefore denies

      same.

46.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 46 of Plaintiff’s Complaint and therefore denies

      same.

47.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 47 of Plaintiff’s Complaint and therefore denies

      same.

48.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 48 of Plaintiff’s Complaint and therefore denies

      same.

49.   The Defendant is without sufficient information on which to form a belief as to the truth




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      of the allegations contained in paragraph 49 of Plaintiff’s Complaint and therefore denies

      same.

50.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 50 of Plaintiff’s Complaint and therefore denies

      same.

51.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 51 of Plaintiff’s Complaint and therefore denies

      same.

52.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 52 of Plaintiff’s Complaint and therefore denies

      same.

53.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 53 of Plaintiff’s Complaint and therefore denies

      same.

54.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 54 of Plaintiff’s Complaint and therefore denies

      same.

55.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 55 of Plaintiff’s Complaint and therefore denies

      same.

56.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 56 of Plaintiff’s Complaint and therefore denies

      same.




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57.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 57 of Plaintiff’s Complaint and therefore denies

      same.

58.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 58 of Plaintiff’s Complaint and therefore denies

      same.

59.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 59 of Plaintiff’s Complaint and therefore denies

      same.

60.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 60 of Plaintiff’s Complaint and therefore denies

      same.

61.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 61 of Plaintiff’s Complaint and therefore denies

      same.

62.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 62 of Plaintiff’s Complaint and therefore denies

      same.

63.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 63 of Plaintiff’s Complaint and therefore denies

      same.

64.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 64 of Plaintiff’s Complaint and therefore denies




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      same.

65,   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 65 of Plaintiff’s Complaint and therefore denies

      same.

66.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 66 of Plaintiff’s Complaint and therefore denies

      same.

67.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 67 of Plaintiff’s Complaint and therefore denies

      same.

68.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 68 of Plaintiff’s Complaint and therefore denies

      same.

69.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 69 of Plaintiff’s Complaint and therefore denies

      same.

70.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 70 of Plaintiff’s Complaint and therefore denies

      same.

71.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 71 of Plaintiff’s Complaint and therefore denies

      same.

72.   The Defendant is without sufficient information on which to form a belief as to the truth




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      of the allegations contained in paragraph 72 of Plaintiff’s Complaint and therefore denies

      same.

73.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 73 of Plaintiff’s Complaint and therefore denies

      same.

74.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 74 of Plaintiff’s Complaint and therefore denies

      same.

75.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 75 of Plaintiff’s Complaint and therefore denies

      same.

76.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 76 of Plaintiff’s Complaint and therefore denies

      same.

77.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 77 of Plaintiff’s Complaint and therefore denies

      same.

78.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 78 of Plaintiff’s Complaint and therefore denies

      same.

79.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 79 of Plaintiff’s Complaint and therefore denies

      same.




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80.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 80 of Plaintiff’s Complaint and therefore denies

      same.

81.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 81 of Plaintiff’s Complaint and therefore denies

      same.

82.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 82 of Plaintiff’s Complaint and therefore denies

      same.

83.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 83 of Plaintiff’s Complaint and therefore denies

      same.

84.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 84 of Plaintiff’s Complaint and therefore denies

      same.

85.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 85 of Plaintiff’s Complaint and therefore denies

      same.

86.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 86 of Plaintiff’s Complaint and therefore denies

      same.

87.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 87 of Plaintiff’s Complaint and therefore denies




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      same.

88.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 88 of Plaintiff’s Complaint and therefore denies

      same.

89.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 89 of Plaintiff’s Complaint and therefore denies

      same.

90.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 90 of Plaintiff’s Complaint and therefore denies

      same.

91.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 91 of Plaintiff’s Complaint and therefore denies

      same.

92.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 92 of Plaintiff’s Complaint and therefore denies

      same.

93.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 93 of Plaintiff’s Complaint and therefore denies

      same.

94.   The Defendant is without sufficient information on which to form a belief as to the truth

      of the allegations contained in paragraph 94 of Plaintiff’s Complaint and therefore denies

      same.

95.   The Defendant is without sufficient information on which to form a belief as to the truth




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       of the allegations contained in paragraph 95 of Plaintiff’s Complaint and therefore denies

       same.

96.    The Defendant is without sufficient information on which to form a belief as to the truth

       of the allegations contained in paragraph 96 of Plaintiff’s Complaint and therefore denies

       same.

97.    The Defendant is without sufficient information on which to form a belief as to the truth

       of the allegations contained in paragraph 97 of Plaintiff’s Complaint and therefore denies

       same.

98.    The Defendant is without sufficient information on which to form a belief as to the truth

       of the allegations contained in paragraph 98 of Plaintiff’s Complaint and therefore denies

       same.

99.    The Defendant is without sufficient information on which to form a belief as to the truth

       of the allegations contained in paragraph 99 of Plaintiff’s Complaint and therefore denies

       same.

100.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 100 of Plaintiff’s Complaint and

       therefore denies same.

101.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 101 of Plaintiff’s Complaint and

       therefore denies same.

102.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 102 of Plaintiff’s Complaint and

       therefore denies same.




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103.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 103 of Plaintiff’s Complaint and

       therefore denies same.

104.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 104 of Plaintiff’s Complaint and

       therefore denies same.

105.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 105 of Plaintiff’s Complaint and

       therefore denies same.

106.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 106 of Plaintiff’s Complaint and

       therefore denies same.

107.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 107 of Plaintiff’s Complaint and

       therefore denies same.

108.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 108 of Plaintiff’s Complaint and

       therefore denies same.

109.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 109 of Plaintiff’s Complaint and

       therefore denies same.

110.   Defendant admits to the allegations as set forth in paragraph 110 of Plaintiff’s

       Complaint.




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111.   Defendant admits to the allegations as set forth in paragraph 111 of Plaintiff’s

       Complaint.

112.   Defendant admits to the allegations as set forth in paragraph 112 of Plaintiff’s

       Complaint.

113.   Defendant admits to the allegations as set forth in paragraph 113 of Plaintiff’s

       Complaint.

114.   Defendant admits to the allegations as set forth in paragraph 114 of Plaintiff’s

       Complaint.

115.   Defendant admits to the allegations as set forth in paragraph 115 of Plaintiff’s

       Complaint.

116.   Defendant admits to the allegations as set forth in paragraph 116 of Plaintiff’s

       Complaint.

117.   Defendant admits to the allegations as set forth in paragraph 117 of Plaintiff’s

       Complaint.

118.   Defendant admits to the allegations as set forth in paragraph 118 of Plaintiff’s

       Complaint.

119.   Defendant admits to the allegations as set forth in paragraph 119 of Plaintiff’s

       Complaint.

120.   Defendant admits to the allegations as set forth in paragraph 120 of Plaintiff’s

       Complaint.

121.   Defendant admits to the allegations as set forth in paragraph 121 of Plaintiff’s

       Complaint.

122.   The Defendant is without sufficient information on which to form a belief as to the




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       truth of the allegations contained in paragraph 122 of Plaintiff’s Complaint and

       therefore denies same.

123.   Defendant admits to the allegations as set forth in paragraph 123 of Plaintiff’s

       Complaint.

124.   Defendant admits to the allegations as set forth in paragraph 124 of Plaintiff’s

       Complaint.

125.   Defendant admits to the allegations as set forth in paragraph 125 of Plaintiff’s

       Complaint.

126.   Defendant admits to the allegations as set forth in paragraph 126 of Plaintiff’s

       Complaint.

127.   Defendant admits to the allegations as set forth in paragraph 127 of Plaintiff’s

       Complaint.

128.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 128 of Plaintiff’s Complaint and

       therefore denies same.

129.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 129 of Plaintiff’s Complaint and

       therefore denies same.

130.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 130 of Plaintiff’s Complaint and

       therefore denies same.

131.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 131 of Plaintiff’s Complaint and




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       therefore denies same.

132.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 132 of Plaintiff’s Complaint and

       therefore denies same.

133.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 133 of Plaintiff’s Complaint and

       therefore denies same.

134.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 134 of Plaintiff’s Complaint and

       therefore denies same.

135.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 135 of Plaintiff’s Complaint and

       therefore denies same.

136.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 136 of Plaintiff’s Complaint and

       therefore denies same.

137.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 137 of Plaintiff’s Complaint and

       therefore denies same.

138.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 138 of Plaintiff’s Complaint and

       therefore denies same.

139.   The Defendant is without sufficient information on which to form a belief as to the




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       truth of the allegations contained in paragraph 139 of Plaintiff’s Complaint and

       therefore denies same.

140.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 140 of Plaintiff’s Complaint and

       therefore denies same.

141.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 141 of Plaintiff’s Complaint and

       therefore denies same.

142.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 142 of Plaintiff’s Complaint and

       therefore denies same.

143.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 143 of Plaintiff’s Complaint and

       therefore denies same.

144.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 144 of Plaintiff’s Complaint and

       therefore denies same.

145.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 145 of Plaintiff’s Complaint and

       therefore denies same.

146.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 146 of Plaintiff’s Complaint and

       therefore denies same.




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147.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 147 of Plaintiff’s Complaint and

       therefore denies same.

148.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 148 of Plaintiff’s Complaint and

       therefore denies same.

149.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 149 of Plaintiff’s Complaint and

       therefore denies same.

150.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 150 of Plaintiff’s Complaint and

       therefore denies same.

151.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 151 of Plaintiff’s Complaint and

       therefore denies same.

152.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 152 of Plaintiff’s Complaint and

       therefore denies same.

153.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 153 of Plaintiff’s Complaint and

       therefore denies same.

154.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 154 of Plaintiff’s Complaint and




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       therefore denies same.

155.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 155 of Plaintiff’s Complaint and

       therefore denies same.

156.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 156 of Plaintiff’s Complaint and

       therefore denies same.

157.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 157 of Plaintiff’s Complaint and

       therefore denies same.

158.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 158 of Plaintiff’s Complaint and

       therefore denies same.

159.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 159 of Plaintiff’s Complaint and

       therefore denies same.

160.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 160 of Plaintiff’s Complaint and

       therefore denies same.

161.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 161 of Plaintiff’s Complaint and

       therefore denies same.

162.   The Defendant is without sufficient information on which to form a belief as to the




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       truth of the allegations contained in paragraph 162 of Plaintiff’s Complaint and

       therefore denies same.

163.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 163 of Plaintiff’s Complaint and

       therefore denies same.

164.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 164 of Plaintiff’s Complaint and

       therefore denies same.

165.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 165 of Plaintiff’s Complaint and

       therefore denies same.

166.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 166 of Plaintiff’s Complaint and

       therefore denies same.

167.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 167 of Plaintiff’s Complaint and

       therefore denies same.

168.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 168 of Plaintiff’s Complaint and

       therefore denies same.

169.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 169 of Plaintiff’s Complaint and

       therefore denies same.




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170.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 170 of Plaintiff’s Complaint and

       therefore denies same.

171.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 171 of Plaintiff’s Complaint and

       therefore denies same.

172.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 172 of Plaintiff’s Complaint and

       therefore denies same.

173.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 173 of Plaintiff’s Complaint and

       therefore denies same.

174.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 174 of Plaintiff’s Complaint and

       therefore denies same.

175.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 175 of Plaintiff’s Complaint and

       therefore denies same.

176.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 176 of Plaintiff’s Complaint and

       therefore denies same.

177.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 177 of Plaintiff’s Complaint and




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       therefore denies same.

178.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 178 of Plaintiff’s Complaint and

       therefore denies same.

179.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 179 of Plaintiff’s Complaint and

       therefore denies same.

180.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 180 of Plaintiff’s Complaint and

       therefore denies same.

181.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 181 of Plaintiff’s Complaint and

       therefore denies same.

182.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 182 of Plaintiff’s Complaint and

       therefore denies same.

183.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 183 of Plaintiff’s Complaint and

       therefore denies same.

184.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 184 of Plaintiff’s Complaint and

       therefore denies same.

185.   The Defendant is without sufficient information on which to form a belief as to the




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       truth of the allegations contained in paragraph 185 of Plaintiff’s Complaint and

       therefore denies same.

186.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 186 of Plaintiff’s Complaint and

       therefore denies same.

187.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 187 of Plaintiff’s Complaint and

       therefore denies same.

188.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 188 of Plaintiff’s Complaint and

       therefore denies same.

189.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 189 of Plaintiff’s Complaint and

       therefore denies same.

190.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 190 of Plaintiff’s Complaint and

       therefore denies same.

191.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 191 of Plaintiff’s Complaint and

       therefore denies same.

192.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 192 of Plaintiff’s Complaint and

       therefore denies same.




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193.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 193 of Plaintiff’s Complaint and

       therefore denies same.

194.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 194of Plaintiff’s Complaint and

       therefore denies same.

195.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 195 of Plaintiff’s Complaint and

       therefore denies same.

196.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 196 of Plaintiff’s Complaint and

       therefore denies same.

197.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 197 of Plaintiff’s Complaint and

       therefore denies same.

198.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 198 of Plaintiff’s Complaint and

       therefore denies same.

199.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 199 of Plaintiff’s Complaint and

       therefore denies same.

200.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 200 of Plaintiff’s Complaint and




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       therefore denies same.

201.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 201 of Plaintiff’s Complaint and

       therefore denies same.

202.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 202 of Plaintiff’s Complaint and

       therefore denies same.

203.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 203 of Plaintiff’s Complaint and

       therefore denies same.

204.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 204 of Plaintiff’s Complaint and

       therefore denies same.

205.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 205 of Plaintiff’s Complaint and

       therefore denies same.

206.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 206 of Plaintiff’s Complaint and

       therefore denies same.

207.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 207 of Plaintiff’s Complaint and

       therefore denies same.

208.   The Defendant is without sufficient information on which to form a belief as to the




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       truth of the allegations contained in paragraph 208 of Plaintiff’s Complaint and

       therefore denies same.

209.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 209 of Plaintiff’s Complaint and

       therefore denies same.

210.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 210 of Plaintiff’s Complaint and

       therefore denies same.

211.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 211 of Plaintiff’s Complaint and

       therefore denies same.

212.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 212 of Plaintiff’s Complaint and

       therefore denies same.

213.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 213 of Plaintiff’s Complaint and

       therefore denies same.

214.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 214 of Plaintiff’s Complaint and

       therefore denies same.

215.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 215 of Plaintiff’s Complaint and

       therefore denies same.




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216.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 216 of Plaintiff’s Complaint and

       therefore denies same.

217.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 217 of Plaintiff’s Complaint and

       therefore denies same.

218.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 218 of Plaintiff’s Complaint and

       therefore denies same.

219.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 219 of Plaintiff’s Complaint and

       therefore denies same.

220.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 220 of Plaintiff’s Complaint and

       therefore denies same.

221.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 221 of Plaintiff’s Complaint and

       therefore denies same.

222.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 222 of Plaintiff’s Complaint and

       therefore denies same.

223.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 223 of Plaintiff’s Complaint and




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       therefore denies same.

224.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 224 of Plaintiff’s Complaint and

       therefore denies same.

225.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 225 of Plaintiff’s Complaint and

       therefore denies same.

226.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 226 of Plaintiff’s Complaint and

       therefore denies same.

227.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 227 of Plaintiff’s Complaint and

       therefore denies same.

228.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 228 of Plaintiff’s Complaint and

       therefore denies same.

229.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 229 of Plaintiff’s Complaint and

       therefore denies same.

230.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 230 of Plaintiff’s Complaint and

       therefore denies same.

231.   The Defendant is without sufficient information on which to form a belief as to the




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       truth of the allegations contained in paragraph 231 of Plaintiff’s Complaint and

       therefore denies same.

232.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 232 of Plaintiff’s Complaint and

       therefore denies same.

233.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 233 of Plaintiff’s Complaint and

       therefore denies same.

234.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 234 of Plaintiff’s Complaint and

       therefore denies same.

235.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 235 of Plaintiff’s Complaint and

       therefore denies same.

236.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 236 of Plaintiff’s Complaint and

       therefore denies same.

237.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 237 of Plaintiff’s Complaint and

       therefore denies same.

238.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 238 of Plaintiff’s Complaint and

       therefore denies same.




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239.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 239 of Plaintiff’s Complaint and

       therefore denies same.

240.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 240 of Plaintiff’s Complaint and

       therefore denies same.

241.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 241 of Plaintiff’s Complaint and

       therefore denies same.

242.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 242 of Plaintiff’s Complaint and

       therefore denies same.

243.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 243 of Plaintiff’s Complaint and

       therefore denies same.

244.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 244 of Plaintiff’s Complaint and

       therefore denies same.

245.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 245 of Plaintiff’s Complaint and

       therefore denies same.

246.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 246 of Plaintiff’s Complaint and




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       therefore denies same.

247.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 247 of Plaintiff’s Complaint and

       therefore denies same.

248.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 248 of Plaintiff’s Complaint and

       therefore denies same.

249.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 249 of Plaintiff’s Complaint and

       therefore denies same.

250.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 250 of Plaintiff’s Complaint and

       therefore denies same.

251.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 251 of Plaintiff’s Complaint and

       therefore denies same.

252.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 252 of Plaintiff’s Complaint and

       therefore denies same.

253.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 253 of Plaintiff’s Complaint and

       therefore denies same.

254.   The Defendant is without sufficient information on which to form a belief as to the




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       truth of the allegations contained in paragraph 254 of Plaintiff’s Complaint and

       therefore denies same.

255.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 255 of Plaintiff’s Complaint and

       therefore denies same.

256.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 256 of Plaintiff’s Complaint and

       therefore denies same.

257.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 257 of Plaintiff’s Complaint and

       therefore denies same.

258.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 258 of Plaintiff’s Complaint and

       therefore denies same.

259.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 259 of Plaintiff’s Complaint and

       therefore denies same.

260.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 260 of Plaintiff’s Complaint and

       therefore denies same.

261.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 261 of Plaintiff’s Complaint and

       therefore denies same.




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262.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 262 of Plaintiff’s Complaint and

       therefore denies same.

263.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 263 of Plaintiff’s Complaint and

       therefore denies same.

264.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 264 of Plaintiff’s Complaint and

       therefore denies same.

265.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 265 of Plaintiff’s Complaint and

       therefore denies same.

266.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 266 of Plaintiff’s Complaint and

       therefore denies same.

267.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 267 of Plaintiff’s Complaint and

       therefore denies same.

268.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 268 of Plaintiff’s Complaint and

       therefore denies same.

269.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 269 of Plaintiff’s Complaint and




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       therefore denies same.

270.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 270 of Plaintiff’s Complaint and

       therefore denies same.

271.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 271 of Plaintiff’s Complaint and

       therefore denies same.

272.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 272 of Plaintiff’s Complaint and

       therefore denies same.

273.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 273 of Plaintiff’s Complaint and

       therefore denies same.

274.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 274 of Plaintiff’s Complaint and

       therefore denies same.

275.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 275 of Plaintiff’s Complaint and

       therefore denies same.

276.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 276 of Plaintiff’s Complaint and

       therefore denies same.

277.   The Defendant is without sufficient information on which to form a belief as to the




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       truth of the allegations contained in paragraph 277 of Plaintiff’s Complaint and

       therefore denies same.

278.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 278 of Plaintiff’s Complaint and

       therefore denies same.

279.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 279 of Plaintiff’s Complaint and

       therefore denies same.

280.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 280 of Plaintiff’s Complaint and

       therefore denies same.

281.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 281 of Plaintiff’s Complaint and

       therefore denies same.

282.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 282 of Plaintiff’s Complaint and

       therefore denies same.

283.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 283 of Plaintiff’s Complaint and

       therefore denies same.

284.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 284 of Plaintiff’s Complaint and

       therefore denies same.




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285.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 285 of Plaintiff’s Complaint and

       therefore denies same.

286.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 286 of Plaintiff’s Complaint and

       therefore denies same.

287.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 287 of Plaintiff’s Complaint and

       therefore denies same.

288.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 288 of Plaintiff’s Complaint and

       therefore denies same.

289.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 289 of Plaintiff’s Complaint and

       therefore denies same.

290.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 290 of Plaintiff’s Complaint and

       therefore denies same.

291.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 291 of Plaintiff’s Complaint and

       therefore denies same.

292.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 292 of Plaintiff’s Complaint and




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       therefore denies same.

293.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 293 of Plaintiff’s Complaint and

       therefore denies same.

294.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 294 of Plaintiff’s Complaint and

       therefore denies same.

295.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 295 of Plaintiff’s Complaint and

       therefore denies same.

296.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 296 of Plaintiff’s Complaint and

       therefore denies same.

297.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 297 of Plaintiff’s Complaint and

       therefore denies same.

298.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 298 of Plaintiff’s Complaint and

       therefore denies same.

299.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 299 of Plaintiff’s Complaint and

       therefore denies same.

300.   The Defendant is without sufficient information on which to form a belief as to the




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       truth of the allegations contained in paragraph 300 of Plaintiff’s Complaint and

       therefore denies same.

301.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 301 of Plaintiff’s Complaint and

       therefore denies same.

302.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 302 of Plaintiff’s Complaint and

       therefore denies same.

303.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 303 of Plaintiff’s Complaint and

       therefore denies same.

304.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 304 of Plaintiff’s Complaint and

       therefore denies same.

305.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 305 of Plaintiff’s Complaint and

       therefore denies same.

306.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 306 of Plaintiff’s Complaint and

       therefore denies same.

307.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 307 of Plaintiff’s Complaint and

       therefore denies same.




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308.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 308 of Plaintiff’s Complaint and

       therefore denies same.

309.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 309 of Plaintiff’s Complaint and

       therefore denies same.

310.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 310 of Plaintiff’s Complaint and

       therefore denies same.

311.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 311 of Plaintiff’s Complaint and

       therefore denies same.

312.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 312 of Plaintiff’s Complaint and

       therefore denies same.

313.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 313 of Plaintiff’s Complaint and

       therefore denies same.

314.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 314 of Plaintiff’s Complaint and

       therefore denies same.

315.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 315 of Plaintiff’s Complaint and




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       therefore denies same.

316.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 316 of Plaintiff’s Complaint and

       therefore denies same.

317.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 317 of Plaintiff’s Complaint and

       therefore denies same.

318.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 318 of Plaintiff’s Complaint and

       therefore denies same.

319.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 319 of Plaintiff’s Complaint and

       therefore denies same.

320.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 320 of Plaintiff’s Complaint and

       therefore denies same.

321.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 321 of Plaintiff’s Complaint and

       therefore denies same.

322.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 322 of Plaintiff’s Complaint and

       therefore denies same.

323.   The Defendant is without sufficient information on which to form a belief as to the




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       truth of the allegations contained in paragraph 323 of Plaintiff’s Complaint and

       therefore denies same.

324.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 324 of Plaintiff’s Complaint and

       therefore denies same.

325.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 325 of Plaintiff’s Complaint and

       therefore denies same.

326.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 326 of Plaintiff’s Complaint and

       therefore denies same.

327.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 327 of Plaintiff’s Complaint and

       therefore denies same.

328.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 328 of Plaintiff’s Complaint and

       therefore denies same.

329.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 329 of Plaintiff’s Complaint and

       therefore denies same.

330.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 330 of Plaintiff’s Complaint and

       therefore denies same.




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331.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 331 of Plaintiff’s Complaint and

       therefore denies same.

332.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 322 of Plaintiff’s Complaint and

       therefore denies same.

333.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 333 of Plaintiff’s Complaint and

       therefore denies same.

334.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 334 of Plaintiff’s Complaint and

       therefore denies same.

335.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 335 of Plaintiff’s Complaint and

       therefore denies same.

336.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 336 of Plaintiff’s Complaint and

       therefore denies same.

337.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 337 of Plaintiff’s Complaint and

       therefore denies same.

338.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 338 of Plaintiff’s Complaint and




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       therefore denies same.

339.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 339 of Plaintiff’s Complaint and

       therefore denies same.

340.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 340 of Plaintiff’s Complaint and

       therefore denies same.

341.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 341 of Plaintiff’s Complaint and

       therefore denies same.

342.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 342 of Plaintiff’s Complaint and

       therefore denies same.

343.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 343 of Plaintiff’s Complaint and

       therefore denies same.

344.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 344 of Plaintiff’s Complaint and

       therefore denies same.

345.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 345 of Plaintiff’s Complaint and

       therefore denies same.

346.   The Defendant is without sufficient information on which to form a belief as to the




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       truth of the allegations contained in paragraph 346 of Plaintiff’s Complaint and

       therefore denies same.

347.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 347 of Plaintiff’s Complaint and

       therefore denies same.

348.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 348 of Plaintiff’s Complaint and

       therefore denies same.

349.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 349 of Plaintiff’s Complaint and

       therefore denies same.

350.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 350 of Plaintiff’s Complaint and

       therefore denies same.

351.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 351 of Plaintiff’s Complaint and

       therefore denies same.

352.   Defendant admits to the allegations as set forth in paragraph 352 of Plaintiff’s

       Complaint.

353.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 353 of Plaintiff’s Complaint and

       therefore denies same.

354.   Defendant admits to the allegations as set forth in paragraph 354 of Plaintiff’s




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       Complaint.

355.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 355 of Plaintiff’s Complaint and

       therefore denies same.

356.   Defendant admits to the allegations as set forth in paragraph 356 of Plaintiff’s

       Complaint.

357.   Defendant admits to the allegations as set forth in paragraph 357 of Plaintiff’s

       Complaint.

358.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 358 of Plaintiff’s Complaint and

       therefore denies same.

359.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 359 of Plaintiff’s Complaint and

       therefore denies same.

360.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 360 of Plaintiff’s Complaint and

       therefore denies same.

361.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 361 of Plaintiff’s Complaint and

       therefore denies same.

362.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 362 of Plaintiff’s Complaint and

       therefore denies same.




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363.   Defendant admits to the allegations as set forth in paragraph 363 of Plaintiff’s

       Complaint.

364.   Defendant denies the allegations as set forth in paragraph 364 of Plaintiff’s

       Complaint.

365.   Defendant denies the allegations as set forth in paragraph 365 of Plaintiff’s

       Complaint.

366.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 366 of Plaintiff’s Complaint and

       therefore denies same.

367.   Defendant admits to the allegations as set forth in paragraph 367 of Plaintiff’s

       Complaint.

368.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 368 of Plaintiff’s Complaint and

       therefore denies same.

369.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 369 of Plaintiff’s Complaint and

       therefore denies same.

370.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 370 of Plaintiff’s Complaint and

       therefore denies same.

371.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 371 of Plaintiff’s Complaint and

       therefore denies same.




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372.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 372 of Plaintiff’s Complaint and

       therefore denies same.

373.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 373 of Plaintiff’s Complaint and

       therefore denies same.

374.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 374 of Plaintiff’s Complaint and

       therefore denies same.

375.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 375 of Plaintiff’s Complaint and

       therefore denies same.

376.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 376 of Plaintiff’s Complaint and

       therefore denies same.

377.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 377 of Plaintiff’s Complaint and

       therefore denies same.

378.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 378 of Plaintiff’s Complaint and

       therefore denies same.

379.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 379 of Plaintiff’s Complaint and




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       therefore denies same.

380.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 380 of Plaintiff’s Complaint and

       therefore denies same.

381.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 381 of Plaintiff’s Complaint and

       therefore denies same.

382.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 382 of Plaintiff’s Complaint and

       therefore denies same.

383.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 383 of Plaintiff’s Complaint and

       therefore denies same.

384.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 384 of Plaintiff’s Complaint and

       therefore denies same.

385.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 385 of Plaintiff’s Complaint and

       therefore denies same.

386.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 386 of Plaintiff’s Complaint and

       therefore denies same.

387.   The Defendant is without sufficient information on which to form a belief as to the




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       truth of the allegations contained in paragraph 387 of Plaintiff’s Complaint and

       therefore denies same.

388.   Defendant admits to the allegations as set forth in paragraph 388 of Plaintiff’s

       Complaint.

389.   Defendant admits to the allegations as set forth in paragraph 389 of Plaintiff’s

       Complaint.

390.   Defendant admits to the allegations as set forth in paragraph 390 of Plaintiff’s

       Complaint.

391.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 391 of Plaintiff’s Complaint and

       therefore denies same.

392.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 392 of Plaintiff’s Complaint and

       therefore denies same.

393.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 393 of Plaintiff’s Complaint and

       therefore denies same.

394.   The Defendant is without sufficient information on which to form a belief as to the

       truth of the allegations contained in paragraph 394 of Plaintiff’s Complaint and

       therefore denies same.

395.   Defendant admits to the allegations as set forth in paragraph 395 of Plaintiff’s

       Complaint.

396.   Defendant admits to the allegations as set forth in paragraph 396 of Plaintiff’s




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       Complaint.

397.   Defendant admits to the allegations as set forth in paragraph 397 of Plaintiff’s

       Complaint.

                       COUNT I - VIOLATION OF - 42 U.S.C. §1983,

                                            (FARAK)

398-408        The allegations as set forth in these paragraphs of the Plaintiff’s Complaint do not

       pertain to Defendant and therefore, no response is required. To the extent such paragraphs

       contain factual allegations that pertain to Defendant, they are expressly denied.

                        COUNT II - VIOLATION OF 42 U.S.C. §1983

                         (HAN, NASSIF, HANCHETT and SALEM)

409-417        The allegations as set forth in these paragraphs of the Plaintiff’s Complaint do not

       pertain to Defendant and therefore, no response is required. To the extent such paragraphs

       contain factual allegations that pertain to Defendant, they are expressly denied.

                       COUNT III- VIOLATION OF 42 U.S.C. §1983

                              (IRWIN, BALLOU and THOMAS)

418-437        The allegations as set forth in these paragraphs of the Plaintiff’s Complaint do not

       pertain to Defendant and therefore, no response is required. To the extent such paragraphs

       contain factual allegations that pertain to Defendant, they are expressly denied.

                        COUNT IV VIOLATION OF 42 U.S.C. §1983

                          (KACZMAREK, FOSTER and RAVITZ)

428- 438       The allegations as set forth in these paragraphs of the Plaintiff’s Complaint do not

       pertain to Defendant and therefore, no response is required. To the extent such paragraphs

       contain factual allegations that pertain to Defendant, they are expressly denied.




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                         COUNT V VIOLATION OF 42 U.S.C. §1983

                                  (ESTATE OF BURNHAM)

439-445        The allegations as set forth in these paragraphs of the Plaintiff’s Complaint do not

       pertain to Defendant and therefore, no response is required. Moreover, the Estate of

       Burnham has been dismissed as a party to this lawsuit. To the extent such paragraphs

       contain factual allegations that pertain to Defendant, they are expressly denied.

                        COUNT VI VIOLATION OF 42 U.S.C. §1983

                       (KENT, WADLEGGER, BIGDA and KALISH)

446-448        The allegations as set forth in these paragraphs of the Plaintiff’s Complaint do not

       all pertain to Defendant Wadlegger and therefore, no response is required to some of the

       allegations. To the extent such paragraphs contain factual allegations that pertain to

       Defendant, they are expressly denied. Defendant repeats and re-alleges each and every

       allegation contained in paragraphs 1 through 397 as if fully set forth herein.

447.   Defendant denies the allegations as set forth in paragraph 447 of Plaintiff’s Complaint.

448.   Defendant denies the allegations as set forth in paragraph 448 of Plaintiff’s Complaint.

449.   Defendant denies the allegations as set forth in paragraph 449 of Plaintiff’s Complaint.

450.   Defendant admits the allegations as set forth in paragraph 450 of Plaintiff’s Complaint.

451.   Defendant denies the allegations as set forth in paragraph 451 of Plaintiff’s Complaint.

452.   Defendant denies the allegations as set forth in paragraph 452 of Plaintiff’s Complaint.

453.   Defendant denies the allegations as set forth in paragraph 453 of Plaintiff’s Complaint.

454.   Defendant denies the allegations as set forth in paragraph 454 of Plaintiff’s Complaint.




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                        COUNT VII VIOLATION OF 42 U.S.C. §1983

                                  (CITY OF SPRINGFIELD)

455-461        The allegations as set forth in these paragraphs of the Plaintiff’s Complaint do not

       pertain to Defendant and therefore, no response is required. To the extent such paragraphs

       contain factual allegations that pertain to Defendant, they are expressly denied.

       COUNT VIII INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

                                (INDIVIDUAL DEFENDANTS)

462-464        The allegations as set forth in these paragraphs of the Plaintiff’s Complaint do not

       all pertain to Defendant Wadlegger, and therefore, no response is required to some of the

       allegations. To the extent such paragraphs contain factual allegations that pertain to

       Defendant, they are expressly denied. Defendant repeats and re-alleges each and every

       allegation contained in paragraphs 1 through 397 as if fully set forth herein.

463.   Defendant denies the allegations as set forth in paragraph 463 of Plaintiff’s Complaint.

464.   Defendant denies the allegations as set forth in paragraph 464 of Plaintiff’s Complaint.

                                 AFFIRMATIVE DEFENSES

FIRST DEFENSE

The Court lacks jurisdiction over the subject matter of the Complaint.

SECOND DEFENSE

The Plaintiff failed to comply with the statutory requirements of M.G.L. chapter 258.

THIRD DEFENSE

The Complaint fails to state a claim upon which relief requested can be granted.

FOURTH DEFENSE

The Defendant reserves the right to recover costs and attorneys’ fees in the event that the above




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action is found frivolous or in bad faith.

FIFTH DEFENSE

The alleged actions of the Defendant were neither the proximate nor the actual cause of any

damages suffered by the Plaintiff.

SIXTH DEFENSE

The Complaint fails to state a claim upon which relief can be granted under 42 U.S.C. §1983

against the Defendant as the conduct alleged in the Complaint does not involve any particular

right arising under the United States Constitution but merely seeks vindication for alleged

violations of state law.

SEVENTH DEFENSE

The Complaint fails to state a claim upon which relief can be granted against the Defendant as

the conduct did not amount to a reckless disregard or deliberate indifference to the civil rights of

inhabitants within the City.

EIGHTH DEFENSE

The Plaintiff cannot recover as the alleged actions of the public employees are immune under the

provisions of the Tort Claims Act under chapter 258.

NINTH DEFENSE

Claims against the Defendant are barred as the actions against the Plaintiff were based upon

probable cause, and in an attempt to properly detain with the use of no more force than was

reasonably necessary.

TENTH DEFENSE

The Defendant answers that at all times he acted reasonably, within the scope of official

discretion and with a good faith belief that the actions were lawful and not in violation of any




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clearly established statutory or constitutional right of which a reasonable person would have

known with regard to all matters in the Complaint which bear on state or federal law question.

ELEVENTH DEFENSE

The Plaintiff is barred from recovery because this action has not been brought within the time

specified by law.

TWELFTH DEFENSE

The Plaintiff is collaterally estopped from recovery.

THIRTEENTH DEFENSE

The Plaintiff is barred from recovery by res judicata.

FOURTEENTH DEFENSE

Based on information and belief, the Defendant’s actions were objectively reasonable in light of

the facts and circumstances and existing law without regard to underlying intent or motivation.

FIFTEENTH DEFENSE

By way of affirmative defense, the Defendant states that if the Plaintiff suffered damage, as

alleged, such injuries or damage were caused by someone for whose conduct the Defendants

were not and is not legally responsible.

SIXTEENTH DEFENSE

By way of affirmative defense, the Defendant states that he was justified in the acts or conduct

and that therefore the Plaintiff cannot recover.

SEVENTEENTH DEFENSE

By way of affirmative defense, the Defendant states that the acts and conduct were performed

according to, and protected by, law and/or legal process, and that therefore, the Plaintiff cannot

recover.




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EIGHTEENTHH DEFENSE

By way of affirmative defense, the Defendant states that the Plaintiff, by his conduct and actions

and/or by the conduct and actions of his agents and servants, has waived any and all rights they

may have had against the Defendants.

NINETEENTH DEFENSE

By way of affirmative defense, the Defendant states that his actions are immune from suit as the

actions complained of were discretionary functions.

TWENTIETH DEFENSE

By way of affirmative defense, the Defendant states that the actions complained of were and are

entitled to and are protected by qualified immunity.

TWENTY-FIRST DEFENSE

By way of affirmative defense the Defendant states that the Plaintiff’s Complaint fails to state a

claim as the Plaintiff failed to exhaust remedies.

TWENTY-SECOND DEFENSE

By way of affirmative defense, the Defendant states that no act or omission by him was a

proximate cause of damages, if any, allegedly sustained by the Plaintiff.

TWENTY-THIRD DEFENSE

By way of affirmative defense, the Defendant states that at all times material, he acted

reasonably, within the scope of official discretion and with a good faith belief that his actions

were lawful and not in violation of any clearly established statutory or constitutional right of

which a reasonable person would have known with regard to all matters in the Complaint which

bear on a question of state or federal law.




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TWENTY-FOURTH DEFENSE

Any damage incurred by the Plaintiff as alleged in the Complaint was the result of his own

intentional and illegal conduct and they are, therefore, barred from recovery.

TWENTY-FIFTH DEFENSE

The Plaintiff’s Complaint against Defendant is frivolous, without basis in fact and not advanced in

good faith. The Defendant is therefore entitled to attorney’s fees, costs and any other sanctions the

Court deems appropriate under the terms and provisions of 42 U.S.C. §1988.

TWENTY-SIXTH DEFENSE

Plaintiff failed to state a cause of action under 42 U.S.C. §1983 as Plaintiff has suffered no

deprivation of due process in that law affords the Plaintiff an adequate remedy.

TWENTY-SEVENTH DEFENSE

And further answering, Defendant says that the Complaint fails to state a claim under 42 U.S.C.

§1983 against him as the conduct alleged in the Complaint does not involve any particular right

arising under the United States Constitution and further that no violation of any federal or

constitutional right has been plead with the requisite particularity, and counts purporting to allege

such violation must, therefore, be dismissed.

                              OTHER AFFIRMATIVE DEFENSES

The Defendant reserves the right to assert additional affirmative defenses.


                                  DEMAND FOR JURY TRIAL
        The Defendant requests a trial by jury on all Counts alleged in the Compliant.
WHEREFORE, the Defendant requests this Honorable Court order dismissal of the complaint
and enter judgment in his favor, as to all Counts alleged and to award him costs and fees as this
court deems appropriate.




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      CERTIFICATE OF SERVICE                Respectfully submitted,
The undersigned hereby certifies that       the Defendant, John Wadlegger,
this document filed through the ECF         By his attorney,
system will be sent electronically to
the registered participants as identified   /s/ Lisa C. deSousa
on the Notice of Electronic Filing          Lisa C. Desousa, BBO #546116
(NEF). I am not aware of any party          Deputy City Solicitor
who is a non-registered participant,        City of Springfield Law Department
and therefore electronic filing is the      1600 E. Columbus Ave., 2nd Floor
sole means of service of this               Springfield, MA 01103
document.                                   Telephone:     (413) 886-5205
                                            Fax:           (413) 750-2363
SIGNED under the pains and penalties        e-mail: ldesousa@springfieldcityhall.com
of perjury
October 17, 2018.

/s/ Lisa C. deSousa
Lisa C. Desousa,




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